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                     EXHIBIT 19
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                                                                   Page 1

1                   IN THE UNITED STATES DISTRICT COURT
2                    FOR THE DISTRICT OF MASSACHUSETTS
3                                BOSTON DIVISION
4
5       ------------------------------------------X
6       STUDENTS FOR FAIR ADMISSIONS, INC.,
7                          Plaintiff,
8                                                 Civil Action No.
9                   vs.                           1:14-cv-14176-ADB
10
11      PRESIDENT AND FELLOWS OF HARVARD COLLEGE,
12      (HARVARD CORPORATION),
13                         Defendant.
14      ------------------------------------------X
15
16                        ** HIGHLY CONFIDENTIAL **
17
18                                Deposition of
19
20                                July 12, 2017
                                      9:10 a.m.
21
                                      Taken at:
22                                    Jones Day
                              901 Lakeside Avenue
23                               Cleveland, Ohio
24
25                            Wendy L. Klauss, RPR

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1        communication to SFFA members that you
2        received?
3                   A.    Correct.
4                   Q.    How many such general
5        communications have you received from Mr. Blum?
6                   A.    I don't know the exact number, but
7        not very many, not more than one or two.
8                   Q.    Do you receive all the
9        communications from Mr. Blum via email?
10                        MR. PARK:          Objection.
11                  A.    Yes.
12                  Q.    You never received a hard copy
13       letter in the mail, or anything like that?
14                  A.    I have not.
15                  Q.    What is the nature of the
16       communications from Mr. Blum to the membership?
17                        MR. PARK:          Objection.
18                  A.    Something fairly general about a
19       sort of web phone conference type of thing
20       regarding the status of their efforts.                     I don't
21       exactly know, because I didn't read the email
22       in its entirety, because it was a large -- it
23       was an email that I didn't read in its
24       entirety.
25                  Q.    And have you only received that one

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1        email, or do you recall receiving others?
2                   A.    I recall receiving at least one
3        about the same conference, but nothing else
4        that I can recall.
5                   Q.    And there was an invitation to a
6        conference call; is that right?
7                   A.    I believe so.
8                   Q.    What was the nature of the
9        conference call?
10                  A.    That I don't know.                According to
11       the date and time of the conference call, I
12       could not be involved in it, so I didn't crowd
13       further into what the nature of the call was.
14                  Q.    So you did not attend the
15       conference call?
16                  A.    I did not.
17                  Q.    Did you receive any summary of the
18       conference call?
19                  A.    No.
20                  Q.    Do you know whether other members
21       of SFFA were also invited to attend the
22       conference call?
23                        MR. PARK:          Objection.
24                  A.    I would assume so, but I obviously
25       don't know for certain.

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1                   Q.       Do you intend to transfer from
2                        to any other institution?
3                   A.       I would be willing to consider the
4        option, were it to present itself.
5                   Q.       Under what circumstances would you
6        be willing to consider the option?
7                   A.       I mean, again, this is highly
8        speculative.          You never know what the
9        circumstances are.               Considering time period,
10       how far I am into my studies at                             all of
11       those would contribute to my decision to
12       transfer or not transfer.
13                  Q.       Do you think you would apply to
14       transfer to Harvard?
15                  A.       Yes.
16                  Q.       Under what circumstances would you
17       consider applying to transfer to Harvard?
18                  A.       If it was not a burden to transfer
19       from                 to Harvard.
20                  Q.       What do you mean by a burden?
21                  A.       Obviously they are different
22       institutions with different sets of
23       requirements, with different academic programs.
24       So if I'm well into my program at                             and
25       it is not practical to transfer to Harvard,

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1        That was their original understanding of the
2        organization, so I understand why they do say
3        that.
4                   Q.    Do you think they should be asked
5        for a donation?
6                         MR. PARK:          Objection.
7                   A.    Donation is obviously upon
8        suggestion, so there would be no harm in doing
9        that.
10                  Q.    It also notes here, "The board has
11       expanded its size to five persons, one of which
12       is directly elected by the membership"; do you
13       see that?
14                  A.    Where is that?
15                  Q.    The second to the last sentence.
16                  A.    Oh, yes, yes.
17                  Q.    Were you aware that the membership
18       directly elected one member of the board?
19                        MR. PARK:          Objection.
20                  A.    I was not aware.
21                  Q.    Have you ever voted in an election
22       for a board of director?
23                        MR. PARK:          I'm going to instruct
24       the witness not to answer the question.
25                        MS. MOONEY:           What grounds?

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1                         MR. PARK:          You are asking questions
2        about participation in the association
3        protected by the First Amendment, and the line
4        of questioning is going into corporate
5        governance, which we think is foreclosed by the
6        Court's order from last month which says that
7        indicia of membership test is not relevant to
8        this case.
9                         MS. MOONEY:           And Harvard, of
10       course, objects, and we would note that we
11       don't think that the Court's ruling of indicia
12       of membership test forecloses discovery, nor do
13       we think that the privilege applies here, but
14       we won't continue to belabor the point.
15                  Q.    Do you know whether an election for
16       the board of directors has taken place since
17       you have become a member?
18                        MR. PARK:          Objection.
19                  A.    To my knowledge, I don't know of
20       any such election.
21                  Q.    You haven't received any
22       communications or anything like that?
23                        MR. PARK:          I'm going to instruct
24       the witness not to answer.                   Same basis as
25       before.

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1                   Q.    Are you going to follow your
2        counsel's instruction?
3                   A.    Yes.
4                   Q.    Going down to the next paragraph,
5        it notes SFFA has a total of -- had a total of
6        21,766 members as of April 30, 2017; do you see
7        that?
8                   A.    Yes.
9                   Q.    Were you aware that SFFA had
10       approximately 21,000 members in April 2017?
11                        MR. PARK:          Objection.
12                  A.    Not an exact number, but I was
13       aware of the fact that recently there had been
14       roughly 20,000 members.
15                  Q.    And it notes further that after the
16       membership was instituted, all new members have
17       paid the fee, and that 133 members have paid
18       the fee; do you see that?
19                  A.    Yes.
20                  Q.    So the 133 members paid $10 each to
21       join.       Do you think that the membership fee is
22       funding the organization's operations in the
23       litigation?
24                        MR. PARK:          Objection.     You can
25       answer.

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1                   Q.       Other than emails you have received
2        from Mr. Blum and communications with
3                        have you had any communications with
4        any other SFFA members?
5                   A.       No.
6                   Q.       Do you know whether the composition
7        of SFFA's standing members has ever changed
8        during the course of this litigation?
9                            MR. PARK:          Objection.
10                  A.       I'm not aware.
11                  Q.       When you joined SFFA, were you
12       given any information about the voting rights
13       of SFFA's members with respect to the board of
14       directors?
15                           MR. PARK:          Objection.     Instruct the
16       witness not to answer.                   It goes to corporate
17       governance issues and indicia of member tests.
18       That's the basis.
19                  Q.       But your testimony is that you
20       haven't during your membership voted to elect
21       any members of the board, correct?
22                           MR. PARK:          Objection.
23                  A.       Correct.
24                  Q.       And to your knowledge an election
25       of the board of directors hasn't been held

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1        since you have become a member?
2                   A.    To my knowledge, yes.
3                   Q.    It hasn't been held, correct?
4                   A.    Correct.
5                   Q.    Have you ever attended or
6        participated in a meeting of the SFFA's board
7        of directors?
8                         MR. PARK:          Objection.     Instruct the
9        witness not to answer that question.
10                  Q.    Are you going to follow your
11       counsel's advice?
12                  A.    Yes.
13                  Q.    Do you know if                          has ever
14       attended or participated in a meeting of the
15       board of directors?
16                        MR. PARK:          Same instruction.
17                  Q.    Are you going to follow your
18       counsel's advice?
19                  A.    Yes.
20                  Q.    Ed Blum in SFFA's president,
21       correct?
22                  A.    Correct.
23                  Q.    Did you vote for him to become
24       president?
25                        MR. PARK:          Objection.     I'm going to

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1                           REPORTER'S CERTIFICATE
2          The State of Ohio,            )
3                                                      SS:
4          County of Cuyahoga.           )
5
6                          I, Wendy L. Klauss, a Notary Public
7          within and for the State of Ohio, duly
8          commissioned and qualified, do hereby certify
9          that the within named witness,                                   ,
10         was by me first duly sworn to testify the
11         truth, the whole truth and nothing but the
12         truth in the cause aforesaid; that the
13         testimony then given by the above-referenced
14         witness was by me reduced to stenotypy in the
15         presence of said witness; afterwards
16         transcribed, and that the foregoing is a true
17         and correct transcription of the testimony so
18         given by the above-referenced witness.
19                         I do further certify that this
20         deposition was taken at the time and place in
21         the foregoing caption specified and was
22         completed without adjournment.
23
24
25

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1                         I do further certify that I am not
2          a relative, counsel or attorney for either
3          party, or otherwise interested in the event of
4          this action.
5                         IN WITNESS WHEREOF, I have hereunto
6          set my hand and affixed my seal of office at
7          Cleveland, Ohio, on this 18th day of July, 2017.
8
9
10
11
12
13                          <%Signature%>
14                        Wendy L. Klauss, Notary Public
15                        within and for the State of Ohio
16
17         My commission expires July 13, 2019.
18
19
20
21
22
23
24
25

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